             Case 2:21-cv-00194-DFM           Document 84    Filed 03/05/21    Page 1 of 18 Page ID #:89



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                                                                          ROBIN GOLTSMAN
                11
                12                                 UNITED STATES DISTRICT COURT
                13                            CENTRAL DISTRICT OF CALIFORNIA
                14
                15       RG ABRAMS INSURANCE, and               CASE NO.: 2:21-CV-194-FLA (MAAx)
                         ROBIN GOLTSMAN,
                16
                                     Plaintiffs,
                17                                              PLAINTIFFS / COUNTER-
                               vs.                              DEFENDANTS’ NOTICE OF
                18                                              MOTION AND JOINT MOTION TO
                         THE LAW OFFICES OF C.R.                MODIFY SCHEDULING ORDER;
                19       ABRAMS, et al.                         MEMORANDUM OF POINTS AND
                                                                AUTHORITIES; [PROPOSED]
                20                                              ORDER
                                     Defendants.
                21
                22                                              DATE:         April 30, 2021
                                                                TIME:         1:30 p.m.
                23                                              JUDGE:        Fernando L. Aenlle-Rocha
                                                                CTRM:         6B
                24
                25
                         AND RELATED CROSS-
                26       ACTIONS
                27
                28
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   S ORENSEN , LLP
  ATTORNEYS AT LAW                                                  -1-
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                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM          Document 84     Filed 03/05/21   Page 2 of 18 Page ID #:90



                     1       TO THE COURT, DEFENDANTS AND THEIR ATTORNEYS OF
                     2   RECORD:
                     3         PLEASE TAKE NOTICE THAT on April 30, 2021 at 1:30 p.m., or as soon
                     4   thereafter as the matter may be heard before United States District Judge Fernando
                     5   L. Aenlle-Rocha in Courtroom 6B of the First Street Courthouse, United States
                     6   District Court for the Central District of California (Western Division – Los
                     7   Angeles), 350 W. 1st Street, 6th Floor, Los Angeles, California 90012, Plaintiffs /
                     8   Counter-Defendants RG Abrams Insurance and Robin Goltsman (collectively,
                     9   “Plaintiffs”) will and hereby do move the Court for an Order modifying the
                10       Scheduling Order (Dkt. 50, 77) and extend all litigation deadlines six months.
                11             This Motion is based on this Notice of Motion and Motion; the attached
                12       Memorandum; the accompanying Declarations of Michael A. Slater and Drew M.
                13       Tate; the [Proposed] Order; all orders, pleadings, and papers on file in this action;
                14       on all matters of which the Court may take judicial notice; and such further
                15       evidence and argument that may be presented at or prior to the hearing on this
                16       Motion.
                17             This Motion is made following the conferences of counsel pursuant to Civil
                18       Local Rule 7-3 which took place on February 11, 2021 (email); February 12, 2021
                19       (telephonic); February 16, 2021 (email); February 18, 2021 (email); February 19,
                20       2021 (email); February 22, 2021 (email); and February 23, 2021 (email).
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                                                                 -2-
      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAx)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM          Document 84    Filed 03/05/21   Page 3 of 18 Page ID #:91



                     1   Dated:     March 5, 2021                   BURKE, WILLIAMS & SORENSEN,
                                                                    LLP
                     2
                     3
                                                                    By: /s/ Michael A. Slater
                     4                                                Michael A. Slater
                                                                      Patricia L. Peden
                     5
                                                                       Attorneys for Plaintiffs and Counter-
                     6                                                 Defendants, RG ABRAMS
                                                                       INSURANCE and ROBIN
                     7                                                 GOLTSMAN
                     8
                                                                    FISHER & PHILLIPS LLP
                     9
                                                                    By: /s/ Alden J. Parker
                10                                                    Alden J. Parker
                                                                      Drew M. Tate
                11
                                                                       Attorneys for Plaintiffs and Counter-
                12                                                     Defendants, RG ABRAMS
                                                                       INSURANCE and ROBIN
                13                                                     GOLTSMAN
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                                                                -3-
      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION            CASE NO.: 2:21-CV-194-FLA (MAAx)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM                Document 84           Filed 03/05/21         Page 4 of 18 Page ID #:92



                     1                                        TABLE OF CONTENTS
                     2
                                                                                                                                    Page
                     3   I.     INTRODUCTION ........................................................................................... 1
                     4   II.    STATEMENT OF FACTS.............................................................................. 2
                                A.  Previous Stipulation to Vacate Litigation Deadlines ............................ 2
                     5          B.  Meet and Confer Efforts ....................................................................... 2
                     6   III.   LEGAL ARGUMENT .................................................................................... 3
                     7          A.  Legal Standard ...................................................................................... 3
                                B.  There is Good Cause To Modify The Scheduling Order ...................... 4
                     8              1.    Recently Retained Co-Counsel for Plaintiffs Will Need
                     9                    Additional Time Beyond the Current May 3, 2021,
                                          Discovery Cutoff to Conduct Discovery .................................... 4
                10                  2.    Insurance Coverage Issues Remain Unresolved......................... 5
                11                  3.    Plaintiffs Have Diligently Pursued Discovery ........................... 6
                                    4.    Completion of Discovery and Resolution of Insurance
                12                        Coverage Issues .......................................................................... 8
                13                  5.    A Six-Month Extension of Litigation Deadlines Will
                                          Prejudice Plaintiffs; It Will Not Prejudice Defendants .............. 8
                14              C.  Request for Attorney’s Fees.................................................................. 9
                15                  1.    Legal Standard ............................................................................ 9
                                    2.    Defense Counsel and Defendants Have Acted With
                16                        Subjective Bad Faith ................................................................... 9
                17       IV.    CONCLUSION ............................................................................................. 12

                18
                19
                20
                21
                22
                23
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                25
                26
                27
                28
B URKE , W ILLIAMS &
                                                                               -i-
   S ORENSEN , LLP       PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION                              CASE NO.: 2:21-CV-194-FLA (MAAX)
  ATTORNEYS AT LAW
      OAKLAND            TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM                     Document 84             Filed 03/05/21            Page 5 of 18 Page ID #:93



                     1                                            TABLE OF AUTHORITIES
                     2
                                                                                                                                              Page(s)
                     3
                         Federal Cases
                     4
                         B.K.B. v. Maui Police Dep’t,
                     5
                            276 F.3d 1091 (9th Cir. 2002), (Feb. 20, 2002) .................................................... 9
                     6
                         Coleman v. Quaker Oats Co.,
                     7     232 F.3d 1271 (9th Cir. 2000) ........................................................................... 3, 4
                     8
                         F.D. Rich Co., Inc. v. U.S. for Use of Indus. Lumber Co., Inc.,
                     9      417 U.S. 116 (1974) ............................................................................................ 12
                10       Fink v. Gomez,
                11          239 F.3d 989 (9th Cir. 2001) ............................................................................... 12
                12       Johnson v. Mammoth Recreations, Inc.,
                            975 F.2d 604 (9th Cir. 1992) ................................................................................. 4
                13
                14       United States, ex rel., Schumer v. Hughes Aircraft Co.,
                           63 F.3d 1512 (9th Cir. 1995) ................................................................................. 4
                15
                         Federal Statutes
                16
                17       28 U.S.C., § 1927........................................................................................................ 9
                18       Other Authorities
                19       Rule 16 ........................................................................................................................ 4
                20
                         Rule 26 ........................................................................................................................ 8
                21
                         Rule 34(b) ................................................................................................................... 6
                22
                23       Rule 37(a)(1) ............................................................................................................... 7

                24       Rule 37-1..................................................................................................................... 7
                25       Rule 4(d) ................................................................................................................... 10
                26
                27
                28
B URKE , W ILLIAMS &
   S ORENSEN , LLP
  ATTORNEYS AT LAW                                                                     - ii -
      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION                                       CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM           Document 84     Filed 03/05/21    Page 6 of 18 Page ID #:94



                     1                MEMORANDUM OF POINTS AND AUTHORITIES
                     2   I.     INTRODUCTION
                     3          Plaintiffs / Counter-Defendants RG Abrams Insurance and Robin Goltsman
                     4   (collectively, “Plaintiffs”) respectfully request that the Court modify the Scheduling
                     5   Order (Dkt. 50, 77) and extend all litigation deadlines six months. There is good
                     6   cause to modify the Scheduling Order and extend all litigation deadlines six months
                     7   for the following reasons:
                     8          First, on October 14, 2020, Plaintiff Goltsman tendered her defense of
                     9   Defendants’ counterclaims to her insurer (Farmers), which only recently (January
                10       28, 2021) retained attorneys Alden Parker and Drew Tate of the Fisher Phillips law
                11       firm to represent her against Defendants’ counterclaims. Dkt 78, 79. Mr. Parker
                12       and Mr. Tate will need and respectfully request additional time beyond the current
                13       May 3, 2021, discovery cutoff to conduct their own fact investigation and
                14       discovery.
                15              Second, Certain Underwriters at Lloyd’s, Syndicates 623 and 2623
                16       (“Beazley”)—which manages claims under the Cyber Liability and Data Breach
                17       Response Coverage Form (the “Cyber Form”) that is part of Plaintiff Goltsman’s
                18       Farmers insurance policy—is still evaluating coverage under the policy’s Cyber
                19       Form. (Farmers has picked up Plaintiffs’ tender of defense in connection with the
                20       non-Cyber-Form portion of the insurance policy.) Plaintiff Goltsman is actively
                21       participating in Beazley’s fact investigation and coverage determination.
                22              Third, as explained in more detail below, Plaintiff has been diligent in trying
                23       to meet the litigation deadlines set in the Scheduling Order, including the May 3,
                24       2021, fact discovery cutoff. However, due to numerous time-consuming discovery
                25       disputes with Defendants—which twice resulted in court-convened discovery
                26       conferences with Magistrate Judge Robert Illman (Dkt. 55, 58, 59, 61, 66, 70)—
                27       Plaintiffs need additional time beyond the May 3, 2021, discovery cutoff to
                28       complete written, oral and non-party discovery.
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                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION              CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM            Document 84     Filed 03/05/21    Page 7 of 18 Page ID #:95



                     1          Fourth, completion of discovery and resolution of insurance coverage issues
                     2   are conditions precedent to the parties meaningfully engaging in Alternative
                     3   Dispute Resolution (“ADR”), which may resolve or narrow the parties’ claims,
                     4   obviate the need for more costly litigation, and minimize use of this Court’s time
                     5   and resources. The parties should complete early mediation before taking expensive
                     6   depositions.
                     7          Finally, there is no prejudice to Defendants if an extension is granted, nor
                     8   have Defendants articulated any prejudice during meet and confer efforts. The
                     9   extension applies equally to both parties, Defendants have just begun to serve
                10       discovery, and only one deposition has been taken.
                11       II.    STATEMENT OF FACTS
                12              A.      Previous Stipulation to Vacate Litigation Deadlines
                13              On September 22, 2020, the Northern District Court issued a Scheduling
                14       Order with the following litigation deadlines: Amended Pleadings: 5/3/2021; Close
                15       of Expert Discovery: 9/1/2021; Close of Fact Discovery: 5/3/2021; Designation of
                16       Experts: 8/2/2021; Dispositive Motion: 10/8/2021; Pretrial Order: 1/21/2022;
                17       Pretrial Conference: 1/28/2022; Rebuttal Reports: 8/2/2021; Jury Selection:
                18       2/22/2022 - 3/3/2022. On January 12, 2021, the Northern District Court transferred
                19       this matter to the Central District Court. Dkt. 72. On February 5, 2021, the parties
                20       filed a joint stipulation to vacate litigation deadlines and request that this Court set a
                21       scheduling conference. Dkt. 76. On February 10, 2021, this Court denied the parties
                22       stipulation because the “parties do not offer any explanation for their request to
                23       vacate the deadlines in this action[]” and, on its own motion, continued the final
                24       pretrial conference from January 28, 2022 to February 4, 2022. Dkt. 77.
                25              B.      Meet and Confer Efforts
                26              As explained in more detail below, undersigned counsel for Plaintiffs,
                27       Michael Slater, met and conferred with counsel for Defendants, Tim Donahue, both
                28       telephonically and in writing to attempt to arrive at a mutually-agreeable
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION               CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM              Document 84    Filed 03/05/21    Page 8 of 18 Page ID #:96



                     1   modification of the Scheduling Orders. Mr. Donahue largely ignored or deflected
                     2   from the good-cause bases articulated by Mr. Slater, while obfuscating the issues
                     3   with inaccuracies and irrelevant counter arguments. Drew M. Tate, counsel for
                     4   Counter-Defendants also met and conferred with Mr. Donahue in writing on
                     5   modifying the Scheduling Order. This is not the first time Mr. Donahue has acted in
                     6   bad faith in this matter. On December 21, 2020, the Northern District Court
                     7   awarded Plaintiffs their attorney’s fees in connection with their successful motion
                     8   to extend the now-vacated mediation deadline due to Mr. Donahue’s
                     9   “unreasonabl[e]” opposition. Dkt. 69, 2:15-16. One week later, in connection with
                10       Plaintiffs’ discovery motion, the Northern District Court noted Mr. Donahue’s
                11       “deflection and obfuscation,” “intention to obstruct discovery,” “refusal to
                12       participate   in   []    discovery,”   and    “deviation     from    the   standards       of
                13       professionalism….” Dkt. 70, pp. 7:1-3; 9:21-24; 12:18-20; 16:22. Meanwhile, Mr.
                14       Donahue and Defendants are currently in contempt of two Northern District Court
                15       orders ordering payment of Plaintiffs’ attorneys’ fees. See Dkt. 82.
                16              On February 10, 2021, this Court denied the parties stipulation to vacate all
                17       litigation deadlines (Dkt. 76), at least in part on the grounds that the “parties [did]
                18       not offer any explanation for their request to vacate the deadlines in this action[.]”
                19       Dkt. 77. Mr. Slater and Mr. Tate sought to avoid the filing of this Motion by
                20       meeting and conferring with Mr. Donahue to articulate bases for the parties’ request
                21       (which Defendants had stipulated to just weeks earlier). Mr. Donahue’s failure to
                22       meaningfully meet and confer, however, has necessitated the preparation and filing
                23       of this Motion. As such, Plaintiffs / Counter-Defendants respectfully request that
                24       they be awarded their attorneys’ fees they incurred in connection with this Motion.
                25       III.   LEGAL ARGUMENT
                26              A.     Legal Standard
                27              Federal Rule of Civil Procedure (“Rule”) 16 provides that a party seeking to
                28       modify a court’s scheduling order must show “good cause” for doing so. Coleman
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION                CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
             Case 2:21-cv-00194-DFM            Document 84   Filed 03/05/21    Page 9 of 18 Page ID #:97



                     1   v. Quaker Oats Co., 232 F.3d 1271, 1294 (9th Cir. 2000). The Rule 16 “good
                     2   cause” standard “primarily considers the diligence of the party seeking the
                     3   amendment.” Coleman, 232 F.3d at 1294. “Although the existence or degree of
                     4   prejudice to the party opposing the modification might supply additional reasons to
                     5   deny a motion, the focus of the inquiry is upon the moving party’s reasons for
                     6   seeking modification. If that party was not diligent, the inquiry should end.”
                     7   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992).
                     8          While the focus of the “good cause” inquiry is on the diligence of the party
                     9   seeking the modification of the scheduling order, other considerations can include
                10       (1) whether trial is imminent, (2) whether the request is opposed, (3) whether the
                11       moving party would be prejudiced, (4) whether the moving party was diligent in
                12       obtaining discovery within the guidelines established by the court, (5) the
                13       foreseeability of the need for additional discovery in light of the time allowed for
                14       discovery by the district court, and (6) the likelihood that discovery will lead to
                15       relevant evidence. United States, ex rel., Schumer v. Hughes Aircraft Co., 63 F.3d
                16       1512, 1526 (9th Cir. 1995), cert. granted in part, 519 U.S. 926, vacated on other
                17       grounds, 520 U.S. 939 (1997) (citing Smith v. United States, 834 F.2d 166, 169
                18       (10th Cir. 1987)).
                19              B.    There is Good Cause To Modify The Scheduling Order
                20              There is good cause to modify the Scheduling Order and extend litigation
                21       deadlines six months.
                22                    1.      Recently Retained Co-Counsel for Plaintiffs Will Need
                23                            Additional Time Beyond the Current May 3, 2021,
                24                            Discovery Cutoff to Conduct Discovery
                25              First, attorneys Mr. Parker and Mr. Tate of the Fisher Phillips law firm were
                26       only recently retained by Farmers on January 28, 2021 and associated into this case
                27       on February 16, 2021 to defend Plaintiffs against Defendants’ counterclaims. See
                28       Declaration of Drew M. Tate (“Tate Decl.”) at ¶ 2. As such, Mr. Parker and Mr.
B URKE , W ILLIAMS &
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
            Case 2:21-cv-00194-DFM           Document 84     Filed 03/05/21   Page 10 of 18 Page ID #:98



                     1   Tate will need and respectfully request additional time beyond the current May 3,
                     2   2021, discovery cutoff to conduct their own fact investigation and discovery. See
                     3   Id. at ¶¶ 4-7. In that regard, Mr. Parker and Mr. Tate intend to get up to speed on
                     4   the litigation and discovery that has been conducted to date. Id. at ¶ 4. Mr. Parker
                     5   and Mr. Tate also intend to serve Interrogatories, Requests for Production of
                     6   Documents, and Requests for Admission on behalf of Robin Goltsman upon each
                     7   Defendant regarding their specific claims for relief, allegations, and damages. Id. at
                     8   ¶ 5. Further, Mr. Parker and Mr. Tate intend to serve subpoenas commanding the
                     9   production of medical records upon any health care provider identified in
                10       Defendants’ written discovery responses to investigate their claimed injuries,
                11       damages, and emotional distress, and to discover whether Defendants have incurred
                12       any actual expenses in treating their claimed injuries and emotional distress. Id. at ¶
                13       6. Finally, Mr. Parker and Mr. Tate intend to serve notices of deposition upon all
                14       Defendants to cross-examine them on their claims for relief, allegations, and
                15       damages, including any questioning regarding Defendants’ responses to their
                16       Interrogatories, Requests for Production of Documents, and Requests for
                17       Admission, and any responsive documents to subpoenas served upon Defendants
                18       health care providers. Id. at ¶ 7. Based on the foregoing, the current discovery cut-
                19       off of May 3, 2021 leaves little room, if any, to conduct the aforementioned
                20       discovery, any related meet and confer efforts regarding Plaintiffs’ intended
                21       discovery, and for Plaintiffs to seek the Court’s intervention regarding any motion
                22       to compel or enforce their intended discovery.
                23                    2.    Insurance Coverage Issues Remain Unresolved
                24              Second, Beazley is still evaluating coverage under the Cyber Form portion of
                25       Plaintiffs’ Farmers insurance policy. (Farmers has picked up Plaintiffs’ tender of
                26       defense in connection with the non-Cyber-Form portion of the insurance policy.)
                27       Plaintiff Goltsman is actively participating in Beazley’s fact investigation and
                28       coverage determination. See Declaration of Robin Goltsman at ¶ 2. Plaintiff
B URKE , W ILLIAMS &
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
            Case 2:21-cv-00194-DFM              Document 84    Filed 03/05/21   Page 11 of 18 Page ID #:99



                     1   Goltsman has been in regular contact with Beazley since January 22, 2021, when
                     2   Beazley first contacted Plaintiff Goltsman via email. Id. at ¶ 3. On February 26,
                     3   2021, Plaintiff Goltsman was interviewed by Beazley investigators. Plaintiff
                     4   Goltsman provided the Beazley investigators with truthful and complete
                     5   information to facilitate Beazley’s determination of insurance coverage under her
                     6   policy’s Cyber Form. Id. at ¶ 4. To date, Beazley has not made its insurance
                     7   coverage determination. Id. at ¶ 5.
                     8                3.        Plaintiffs Have Diligently Pursued Discovery
                     9          Third, Plaintiffs have diligently pursued discovery to support their claims
                10       and defend against Defendants’ counterclaims. On September 4, 2020, Plaintiff
                11       Goltsman served all Defendants a separate set of requests for production of
                12       documents (“RFPs Set 1”)—totaling approximately 250 requests. See Declaration
                13       of Michael Slater (“Slater Decl.”) at ¶ 2. In their original responses, Defendants did
                14       not serve even a single document in response to Plaintiff Goltsman’s RFPs Set 1, in
                15       violation of Rule 34(b). Id. Instead, Defendants served boilerplate objections. Id.
                16       Defendants’ discovery conduct necessitated a protracted meet and confer process
                17       that lasted several months which ultimately resulted in court-convened discovery
                18       dispute resolution with Magistrate Judge Robert Illman. Dkt. 55, 58, 59, 61, 66, 70.
                19       The parties’ discovery disputes regarding Defendants’ responses to RFPs Set 1 was
                20       resolved by Judge Illman on December 28, 2020. Id.; Dkt. 70. On January 20,
                21       2021, Defendant Christopher Abrams served supplemental responses to RFPs Set 1.
                22       Slater Decl. at ¶ 2.
                23              On November 5, 2020, Plaintiff Goltsman served Defendants each with a set
                24       of interrogatories, sets one (“ROGs Set 1”), aimed primarily at discovering the
                25       identities and locations of the computers at issue in Plaintiffs’ claims, as well
                26       discovering the identities of Defendants’ insurance policies (which, to date, have
                27       not been disclosed). Slater Decl. at ¶ 3. Nearly two months later, on January 4,
                28       2021, Defendants served tardy responses to ROGs Set 1. Defendants’ responses to
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION               CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM        Document 84 Filed 03/05/21        Page 12 of 18 Page ID
                                                         #:100


                     1   ROGs Set 1 consisted primarily of boilerplate objections. Id. To the extent
                     2   Defendants’ substantively response to ROGs Set 1, Defendants’ responses
                     3   consisted of “equivocation or obfuscation,” which Judge Robert Illman specifically
                     4   instructed Defendants not to do specifically in connection with the identities of the
                     5   computers at issue in this lawsuit. Id.; Dkt. 70, 16:8-15.
                     6          In accordance with Rule 37(a)(1) and Central District of CA Local Rule 37-
                     7   1, on February 22, 2021, Mr. Slater sent Mr. Donahue a detailed meet and confer
                     8   letter to attempt to resolve the deficiencies in Defendants’ responses to ROGs Set 1
                     9   without court-convened discovery dispute resolution. Slater Decl. at ¶ 4. Mr. Slater
                10       requested that Mr. Donahue provide his availability for a telephonic meet and
                11       confer before March 4, 2021, in accordance with L.R. 37-1. Id. On February 27,
                12       2021, Mr. Slater also sent Mr. Donahue a meet and confer letter regarding
                13       Defendant Cynthia Wooten’s responses to RFP No. 17. Slater Decl. at ¶ 5. On
                14       March 5, 2021, Mr. Slater and Mr. Donahue telephonically met and conferred
                15       regarding Mr. Slater’s February 22 and February 27, 2021, letters. Id. Mr. Donahue
                16       was unprepared to discuss the substance of Mr. Slater’s letters; instead, agreeing to
                17       “look into” each and every issue raised in Mr. Slater’s letters within one week. Id.
                18       Mr. Donahue’s lack of readiness to productively participate in the telephonic meet
                19       and confer amounts to yet another delay in Plaintiffs’ ability to obtain discovery.
                20       Id.
                21              On March 2, 2021, Plaintiff Goltsman served Defendants each with a second
                22       set of requests for production of documents (“RFPs Set 2”). Slater Decl. at ¶ 6.
                23       RFPs Set 2 were prepared using the United States District Court for the Northern
                24       District of California’s December 28, 2020, Order (regarding the parties’ discovery
                25       disputes in connection with RFPs Set 1—Dkt. 70) as a guide. Id. In accordance
                26       with the Court’s December 28, 2020, Order, RFPs Set 2 narrowed in scope
                27       numerous requests for production previously held to be overbroad and outside the
                28       scope of permissible discovery. Id.
B URKE , W ILLIAMS &
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  ATTORNEYS AT LAW                                                  -7-
      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM          Document 84 Filed 03/05/21        Page 13 of 18 Page ID
                                                           #:101


                     1                  4.    Completion of Discovery and Resolution of Insurance
                     2                        Coverage Issues
                     3            Fourth, completion of discovery and resolution of insurance coverage issues
                     4   are conditions precedent to the parties meaningfully engaging in ADR, which may
                     5   resolve or narrow the parties’ claims, obviate the need for more costly litigation,
                     6   and minimize use of this Court’s time and resources.
                     7                  5.    A Six-Month Extension of Litigation Deadlines Will
                     8                        Prejudice Plaintiffs; It Will Not Prejudice Defendants
                     9            Finally, while a six-month extension of litigation deadlines will prejudice
                10       Plaintiff, it will not prejudice Defendants. As explained above, Plaintiffs have been
                11       diligent in their efforts to obtain discovery to support their claims and defend
                12       against Defendants’ counterclaims. However, due to numerous time-consuming
                13       discovery disputes with Defendants—which twice resulted in court-convened
                14       discovery conferences with Magistrate Judge Robert Illman (Dkt. 55, 58, 59, 61,
                15       66, 70)—Plaintiffs need additional time beyond the May 3, 2021, discovery cutoff
                16       to complete written, oral and non-party discovery. The need for court intervention
                17       compounded the delay that began with Defendants’ refusal to provide discovery
                18       while their motion to dismiss and transfer was under submission. Defendants
                19       continue to refuse to provide full Rule 26 disclosures or to meaningfully respond to
                20       discovery. Plaintiffs will likely have to raise these issues with the Court before they
                21       can obtain the discovery to which they are entitled.
                22                Defendants will not be prejudiced by a six-month extension of litigation
                23       deadlines. Nor did Mr. Donahue indicate during the parties’ recent meet and confer
                24       efforts that Defendants would be prejudiced by a six-month extension. See Section
                25       III.C.ii., supra; see also 2/11/21 through 2/23/21 Meet and Confer Correspondence,
                26       attached as Exhibit A. The proposed extension will apply equally to all parties,
                27       Defendants have just begun to serve discovery, and only one deposition has been
                28       taken.
B URKE , W ILLIAMS &
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION               CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM        Document 84 Filed 03/05/21        Page 14 of 18 Page ID
                                                         #:102


                     1          C.    Request for Attorney’s Fees
                     2                1.    Legal Standard
                     3          “Any attorney or other person admitted to conduct cases in any court of the
                     4   United States or any Territory thereof who so multiplies the proceedings in any case
                     5   unreasonably and vexatiously may be required by the court to satisfy personally the
                     6   excess costs, expenses, and attorneys’ fees reasonably incurred because of such
                     7   conduct.” 28 U.S.C., § 1927. The imposition of sanctions under section 1927
                     8   requires “‘a finding of subjective bad faith,’ which ‘is present when an attorney
                     9   knowingly or recklessly raises a frivolous argument, or argues a meritorious claim
                10       for the purpose of harassing an opponent.’” B.K.B. v. Maui Police Dep’t, 276 F.3d
                11       1091, 1107 (9th Cir. 2002), as amended (Feb. 20, 2002) (quoting In re Keegan
                12       Mgmt. Co., Sec. Lit., 78 F.3d 431, 436 (9th Cir. 1996)) (emphasis omitted).
                13                    2.    Defense Counsel and Defendants Have Acted With
                14                          Subjective Bad Faith
                15              Defendants refusal to stipulate to Plaintiffs’ proposed extension is
                16       unreasonable and amounts to subjective bad faith. On February 11, 2021,
                17       undersigned counsel for Plaintiffs, Michael Slater, sent defense counsel, Mr.
                18       Donahue, a meet and confer email articulating three bases for extending the
                19       litigation deadlines six months. Slater Decl. at ¶¶ 7, 13; Exhibit A.
                20              On February 12, 2021, Mr. Slater called Mr. Donahue at Mr. Donahue’s
                21       office. Slater Decl. at ¶ 8. During Mr. Slater and Mr. Donahue’s February 12, 2021,
                22       telephonic meet and confer, Mr. Donahue indicated he was amenable in principle to
                23       a six-month extension of all litigation deadlines, pending client approval. Id. Mr.
                24       Donahue recommended that the parties substantiate the stipulation for a six-month
                25       extension with more specific details regarding the status of Farmers’ insurance
                26       coverage investigation and determination. Id. Mr. Donahue also indicated he would
                27       discuss with his clients the two Northern District Court orders ordering payment of
                28       Plaintiffs’ attorneys fees in connection with Plaintiffs’ successful motion to amend
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                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION             CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM        Document 84 Filed 03/05/21       Page 15 of 18 Page ID
                                                         #:103


                     1   the now-vacated mediation deadlines ($1,400.00) (Dkt. 69) and Rule 4(d) motion
                     2   for service costs ($7,645.10) (Dkt. 71).
                     3          Also on February 12, 2021, in accordance with this Court’s Notice To Parties
                     4   Of Court−Directed ADR Program (Dkt. 75), Mr. Slater sent Mr. Donahue a meet
                     5   and confer email identifying Plaintiffs’ ADR preferences—(1) settlement
                     6   conference with a Magistrate Judge, (2) the Court’s Mediation Panel, and (3)
                     7   private mediation—and requested that Defendants identify their ADR preferences
                     8   so that the parties’ ADR preferences could be included in the contemplated
                     9   stipulation extending litigation deadlines six months. Slater Decl. at ¶ 9; ; Exhibit
                10       A. In response, Mr. Donahue indicated: “if Farmers makes their decision in 3
                11       weeks; wouldn't it be better to base our stipulation off of that?” Id. (Mr. Donahue
                12       did not indicate Defendants’ ADR preference.) In response, Mr. Slater indicated
                13       that it did not make sense to wait to stipulate until after Farmers made their
                14       coverage decision because the timeline for Farmers’ coverage decision was
                15       unknown. Id.
                16              On February 16, 2021, Mr. Slater sent Mr. Donahue a follow-up meet and
                17       confer email regarding the parties’ contemplated stipulation extending litigation
                18       deadlines six months, Defendants’ ADR preferences, and the unpaid attorneys’
                19       fees. Slater Decl. at ¶ 10; Exhibit A. In response, Mr. Donahue indicated that
                20       Defendants “are not interested in any further delays.” Id. Also on February 16,
                21       2021, attorneys Mr. Parker and Mr. Tate of the Fisher Phillips law firm appeared as
                22       co-counsel for Plaintiffs (in defense of Defendants’ counterclaims). Id. In light of
                23       their appearances, on February 18, 2021, Mr. Slater emailed Mr. Donahue to
                24       articulate additional bases for the parties’ contemplated stipulation: including that
                25       Mr. Parker and Mr. Tate will need time to conduct their own discovery; that the
                26       “Cyber Form” portion of Plaintiff Goltsman’s Farmers insurance policy was still
                27       being evaluated for coverage; and that resolution of insurance coverage issues is a
                28       condition precedent to meaningfully engaging in ADR. Id.
B URKE , W ILLIAMS &
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION            CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM         Document 84 Filed 03/05/21        Page 16 of 18 Page ID
                                                          #:104


                     1          On February 19, 2021, Mr. Donahue identified twelve bases (not previously
                     2   identified) for why Defendants would not agree to stipulate to extend litigation
                     3   deadlines. Slater Decl. at ¶ 11; Exhibit A. Many of these bases were frivolous and
                     4   either inaccurate, irrelevant and/or not tethered to procedural posture of the case,
                     5   including: that the parties have “already had a lot of discovery”; that the parties
                     6   “still have a lot more time”; that Plaintiffs had not “provided any names- to act as
                     7   mediator”; and that the Court already rejected the parties’ previous stipulation. Id.
                     8          On February 22, 2021, Mr. Slater responded to each of Mr. Donahue’s
                     9   twelve reasons for Defendants’ refusal to stipulate to extend litigation deadlines,
                10       including: that Plaintiffs have been unable to obtain meaningful discovery due to
                11       Defendants’ obstreperous discovery conduct; that Plaintiffs need not select a private
                12       mediator at this stage, because (as explained in Mr. Slater’s February 12, 2021
                13       email) private mediation is not Plaintiffs’ ADR preference; and that, while the
                14       Court previously rejected the parties stipulation to vacate litigation deadlines, the
                15       Court’s rejection was due, at least in part, to insufficient reasoning. Slater Decl. at ¶
                16       12; Exhibit A. On February 23, 2021, Mr. Donahue responded to Mr. Slater’s
                17       February 22, 2021, email with reasoning that was, like his February 19, 2021,
                18       email, frivolous, inaccurate, irrelevant and/or not tethered to procedural posture of
                19       this case. Id.
                20              On February 23, 2021, Mr. Tate sent Mr. Donahue a meet and confer email
                21       regarding Mr. Parker and Mr. Tate’s agreement with Mr. Slater to continue all
                22       litigation deadlines six (6) months to allow the Parties’ to continue and complete
                23       discovery efforts. Tate Decl., ¶ 8, Exhibit A. Specifically, Mr. Tate stated that his
                24       office, on behalf of Counter-Defendants, would serve written discovery requests
                25       and notices of deposition in earnest. Id. However, in light of the current discovery
                26       cut-off date of May 3, 2021, that would leave Mr. Tate’s office only two (2) months
                27       to complete Counter-Defendants’ intended discovery and any related meet and
                28       confer efforts, and as well as to seek the Court’s intervention for deficient
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                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION              CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM           Document 84 Filed 03/05/21    Page 17 of 18 Page ID
                                                            #:105


                     1   responses. Id. Accordingly, Mr. Tate requested that Mr. Donahue reconsider
                     2   Defendants/Counter-Claimants’ position and stipulate to a continuance of the
                     3   current litigation schedule so that discovery can be completed in a coordinated,
                     4   efficient fashion. Id.
                     5          The artificial impediments created by defense counsel in connection with this
                     6   Motion is consistent with his conduct throughout this litigation, amounts to bad
                     7   faith, and reflects an obdurate determination to increase Plaintiffs’ litigation costs
                     8   while simultaneously impeding Plaintiffs’ ability to engage in settlement
                     9   discussions, prosecute their claims and defend against Defendants’ counterclaims.
                10       This conduct warrants the award of the attorneys’ fees incurred by Plaintiffs in
                11       connection with the preparation of this Motion. Fink v. Gomez, 239 F.3d 989, 992
                12       (9th Cir. 2001) [A district court has “inherent authority to impose sanctions for bad
                13       faith, which includes a broad range of willful improper conduct.”]; F.D. Rich Co.,
                14       Inc. v. U.S. for Use of Indus. Lumber Co., Inc., 417 U.S. 116, 129 (1974).
                15              Accordingly, Plaintiffs respectfully request attorneys’ fees they incurred in
                16       connection with preparing this Motion in the amount of $4,235.00. Slater Decl. ¶¶
                17       14-15; Tate Decl. ¶¶ 9-10.
                18       IV.    CONCLUSION
                19              Plaintiffs / Counter-Defendants respectfully request an order from this Court
                20       modifying the scheduling order.
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION            CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
                 Case 2:21-cv-00194-DFM         Document 84 Filed 03/05/21      Page 18 of 18 Page ID
                                                          #:106


                     1   Dated:      March 5, 2021             BURKE, WILLIAMS & SORENSEN,
                                                               LLP
                     2
                     3
                                                               By: /s/ Michael A. Slater
                     4                                           Michael A. Slater
                                                                 Patricia L. Peden
                     5
                                                                    Attorneys for Plaintiffs and Counter-
                     6                                              Defendants, RG ABRAMS INSURANCE
                                                                    and ROBIN GOLTSMAN
                     7
                     8                                         FISHER & PHILLIPS LLP
                     9                                         By: /s/ Alden J. Parker
                                                                 Alden J. Parker
                10                                               Drew M. Tate
                11                                             Attorneys for Plaintiffs and Counter-
                                                               Defendants, RG ABRAMS INSURANCE and
                12                                             ROBIN GOLTSMAN
                13
                14
                15
                16
                17                      ATTESTATION OF CONCURRENCE IN FILING
                18              I, Michael Slater, am the ECF user whose ID and password are being used to
                19       file the foregoing Notice of Motion and Joint Motion to Modify Scheduling Order;
                20       Memorandum of Points and Authorities; [Proposed] order. Pursuant to Central
                21       District Local Civil Rule 5-4.3.4(a)(2), I hereby attest that all signatories listed
                22       above, and on whose behalf this filing is submitted, concur in the filings content
                23       and have authorized the filing.
                24
                25       Dated: March 5, 2021                               /s/ Michael A. Slater
                                                                             Michael A. Slater
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B URKE , W ILLIAMS &
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      OAKLAND
                         PLTFS / COUNTER-DEFENDANTS’ JOINT MOTION            CASE NO.: 2:21-CV-194-FLA (MAAX)
                         TO MODIFY SCHEDULING ORDER
